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                  Laroe
          Assistant United States Attorneys

Before:   THE HONORABLE HENRY PITMAN                        AL,1 2 3 zon
          United States Magistrate Judge
          Southern District of New York

                                        x

UNITED STATES OF AMERICA
                                             SEALED COMPLAIB            L ~:;   ...'·
                                                                                i.t;~n~
                                                                                          ---
                                             Violations of
               - v.    -                     18 u.s.c. §§
                                             2 2 5 2A (a) ( 2) ( B) ,   (a) (5) (B),
JOSHUA ADAM SCHULTE,                         (a) (1)   I   (b) (1) /    (b) ( 2) /
                                             and 2
                       Defendant.
                                             COUNTY OF OFFENSE:
                                             NEW YORK
                                        x

STATE OF NEW YORK
COUNTY OF NEW YORK                  SS.:
SOUTHERN DISTRICT OF NEW YORK

          Jeff David Donaldson, being duly sworn, deposes and
says that he is a Special Agent with the Federal Bureau of
Investigation ("FBI"), and charges as follows:

                               COUNT ONE
                      (Receipt of Child Pornography)

     1.   From at least in or about 2009, up to and including at
least in or about March 2017, in the Southern District of New
York and elsewhere, JOSHUA ADAM SCHULTE, the defendant,
knowingly did receive and attempt to receive material that
contains child pornography that had been mailed, and using a
means and facility of interstate and foreign commerce shipped
and transported in and affecting interstate and foreign commerce
by any means, including by computer, to wit, SCHULTE downloaded
from the Internet electronic files depicting child pornography.

  (Title 18, United States Code, Sections 2252A(a) (2) (B),               (b) (1)
                             and 2.)




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                             COUNT TWO
                 (Possession of Child Pornography)

      2.  From at least in or about 2009, up to and including at
least in or about March 2017, in the Southern District of New
York and elsewhere, JOSHUA ADAM SCHULTE, the defendant,
knowingly did possess and access with intent to view, and
attempt to possess and access with intent to view, a book,
magazine, periodical, film, videotape, computer disk, and other
material that contained an image of child pornography that had
been mailed, shipped and transported using a means and facility
of interstate and foreign commerce and in and affecting
interstate and foreign commerce by any means, including by
computer, and that was produced using materials that had been
mailed, shipped and transported in and affecting interstate and
foreign commerce by any means, including by computer, to wit,
SCHULTE accessed with intent to view and possessed images and
videos of child pornography at his residence in New York, New
York.

 (Title 18, United States Code, Sections 2252A(a) (5) (B),           (b) (2)
                            and 2.)

                            COUNT THREE
               (Transportation of Child Pornography)

     3.   In or about November 2016, in the Southern District of
New York and elsewhere, JOSHUA ADAM SCHULTE, the defendant,
knowingly did mail and transport and ship using a means and
facility of interstate and foreign commerce and in and affecting
interstate and foreign commerce by any means, including by
computer, child pornography, to wit, SCHULTE transported from
Virginia to New York, New York, a computer containing images and
videos of child pornography.

      (Title 18, United States Code, Section 2252A(a) (1) .)

          The bases for my knowledge and the foregoing charges
are, in part, as follows:

          1.   I am a Special Agent with the FBI, and I have
been personally involved in the investigation of this matter.
This affidavit is based in part upon my conversations with law
enforcement agents and other people, and my examination of
reports and records.  Because this affidavit is being submitted
for the limited purpose of establishing probable cause, it does
not include all of the facts that I have learned during the


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course of my investigation. Where the contents of documents and
the actions, statements, and conversations of others are
reported herein, they are reported in substance and in part,
except where otherwise indicated.

          2.   I know, based on my conversations with other law
enforcement agents and other people, my participation in this
investigation, my review of documents, and my training and
experience, that:

               a.   On or about March 13, 2017, the Honorable
Barbara C. Moses, a U.S. Magistrate Judge for the Southern
District of New York, issued a search warrant (the "Schulte
Search Warrant") to search the residence of JOSHUA ADAM SCHULTE,
the defendant, in New York, New York (the "Residence").

               b.   On or about March 15, 2017, members of the
FBI searched the Residence. During the course of that search,
law enforcement officers recovered, among other things, multiple
computers, servers, and other portable electronic storage
devices (the "Subject Devices"), including SCHULTE's personal
desktop computer (the "Desktop Computer").

          3.   I know, based on my conversations with FBI agents
including agents assigned to the Crimes Against Children Squad
(the "CACS Agents"), my review of documents, and my training and
experience, the following:

                a.  During the course of reviewing the Desktop
Computer, CACS agents encountered a volume of files in an
encrypted container, approximately 54 GB in size (the "Encrypted
Container") . 1

               b.   As described in more detail below, law
enforcement personnel were able to def eat the encryption used to
protect the Encrypted Container by entering passwords recovered
from a cellular telephone belonging to JOSHUA ADAM SCHULTE, the
defendant.




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  I understand, based on my conversations with computer
scientists involved in this investigation, my training and
experience, and my involvement in this investigation, that a
"container" in this context refers generally to a data structure
that holds one or more different types of data.


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               c.   The Encrypted Container contains over ten
thousand files, including images and videos, that appear
consistent with child pornography (the "CP Files").

               d.   The CP Files are organized in folders, some
of which are titled "downloads," "new," "kids," "old," "other,"
and "young." In addition, within the "downloads" folder, there
are additional subfolders titled "13yo in bath" and "llyr old"
that also contain child pornography.

               e.   A sample of the CP Files is listed below,
along with summary descriptions:

                     i.  "Jenny 9yo daughter - Full. mpg" is a
video, approximately seventeen minutes long, found in a folder
titled "downloads." The video depicts an approximately eight-
to-ten-year-old prepubescent female engaged in sexual acts.    For
example, during part of the video, the prepubescent female's
shins are tied to her thighs with a yellow rope, and a male hand
then masturbates the prepubescent female's vagina. During
another part of the video, the prepubescent female engages in
oral sex on an adult male penis.

                     ii.  "(Lolita) !Pthc - 2010 (Toddlergirl)
Kait 5yo Willing-Ffk-Sk-Fcs.avi" is a video, approximately three
minutes and twenty-three seconds long, found in a folder titled
"downloads." The video depicts a prepubescent female
approximately three-to-six years old engaging in various sex
acts.   For example, at one point in the video, the prepubescent
female has her legs spread in a lewd and lascivious manner, and
she touches her vagina while an adult male touches her
vagina.   The adult male then penetrates the prepubescent
female's vagina with his index finger.

                   iii.   "PTHC- beauty-cumshot 3yo THIS ROCKS
pedo child toddler incest2yo 4yo 5yo 6yo 7yo 8yo babyj vicky
laura jenny sofie fdsa hussyfan Russian korea.mpg" is a video,
approximately six minutes and thirty-seven seconds long, found
in a folder titled "new." The video depicts a female toddler
that appears to be between the ages of two and four years old
engaging in sexual acts.   For example, at one point in the
video, the toddler's legs are spread and her vagina shown in a
lewd and lascivious manner.   Later, an adult male masturbates
his penis, rubs the toddler's vagina, and holds one of her legs
open. The toddler later grabs the adult male penis.




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                    iv.   "(PTHC Lolifuck) lOYo Katrina -
Doggystyle (New 2008) .avi" is a video, approximately six minutes
and eighteen seconds long, found in a folder titled "new." The
video depicts a prepubescent female who appears to be between
nine and eleven years old engaging in sexual acts.   For example,
the video begins with the prepubescent female washing her vagina
over what appears to be a pot of water and masturbating. Later,
an adult male inserts his finger into the prepubescent female's
anus and another finger rubs the prepubescent female's vagina.

               f.   Within the Encrypted Container, the CACS
Agents also identified documents that contained links to
numerous illicit websites (the "Websites"). Based on the CACS
Agents' training, experience, and familiarity with the Websites,
they believe that some of the Websites have been used to access,
view, and download child pornography, as well as other types of
pornography.  Based on a forensic review of the Desktop
Computer, some of the Websites known to contain child
pornography appear to have been accessed by the user of the
Desktop Computer.

          4.   I know, based on my conversations with other law
enforcement agents, including FBI computer scientists involved
in a forensic review of the Subject Devices (the "Computer
Scientists"), that the CP Files reviewed by the CACS Agents were
discovered by the Computer Scientists in the Encrypted Container
on the Desktop Computer.  Specifically:

                a.   During the examination of the Desktop
Computer, the Computer Scientists determined that an encrypted
virtual machine was present on the Desktop Computer (the "VM").
A virtual machine allows a user to create a separate computer
operating system within a physical computer's operating system.
The Computer Scientists were able to access the VM by inputting
a password obtained from a forensic examination of a cellphone
 (the "Cellphone") belonging to JOSHUA ADAM SCHULTE, the
defendant (the "Cellphone Examination") . 2 Specifically, the
Cellphone Examination identified various passwords that had been
input by the user of the Cellphone to, for example, access the
phone, applications on the phone, and/or certain websites.

               b.   Upon accessing the VM, the Computer
Scientists identified a user account "Josh" with an encrypted
home directory (the "Home Directory"). The Computer Scientists

2 On or about March 20, 2017, JOSHUA ADAM SCHULTE, the defendant,
consented to the search of his Cellphone.


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were able to access the Home Directory by inputting a different
password obtained from the Cellphone Examination of SCHULTE's
Cellphone.

                c.   Upon accessing the Home Directory, the
Computer Scientists identified a file titled "data.bkp" that was
approximately 50 gigabytes in size (the "Data File").
Initially, when the Computer Scientists opened the Data File,
the file appeared to contain only random, binary data.   In
addition, the Computer Scientists determined that an encryption
software called VeraCrypt was installed on the VM. VeraCrypt
allows users to create encrypted, password protected containers
 (e.g., zip files) on their computers.

               d.   Based on the size of the Data File and its
contents, which appeared to be highly random data, and based on
the presence of VeraCrypt on the VM, the Computer Scientists
determined that the Data File was potentially a VeraCrypt
encrypted container. The Computer Scientists were subsequently
able to decrypt the Data File using VeraCrypt Software by
entering the same password used to access the VM. As described
above, that password was obtained from the Cellphone Examination
of SCHULTE's Cellphone. Once the Data File was decrypted, the
Encrypted Container was accessible, and the CP Files were
discovered within that container.

               e.   In addition, within the Encrypted Container,
there was an additional file also titled "data.bkp" that was
several gigabytes in size and that also contained random, binary
data (the "Second Data File"). The Computer Scientists were
subsequently able to decrypt the Second Data File using
VeraCrypt Software by entering the same password used to access
the VM and the Data File, as described above.  Once the Second
Data File was decrypted, it contained forensic artifacts of
files having names indicative of child pornography.

          5.   I know, based on my conversation with the
Computer Scientists, my review of documents, and my training and
experience, that during their review of the Desktop Computer,
the Computer Scientists discovered the Internet Relay Chat
program (the "IRC Program") on it. The IRC Program is a
computer application that allows users to communicate with other
individuals and groups in a chatroom.  I also know, based on my
conversation with the Computer Scientists, my review of
documents, and my training and experience, that the IRC Program
on the Desktop Computer stored conversations between JOSHUA ADAM
SCHULTE, the defendant - who, as explained below, communicated


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using a username "Josh" - and other individuals. During those
IRC Program chats, SCHULTE and others appear to discuss, among
other things, their receipt and distribution of child
pornography (the "Chats"). For example:

               a.   On or about January 8, 2009, SCHULTE, using
username "Josh" communicated with an individual using the
username "Sturm." During that conversation, Sturm asked SCHULTE
"what's your email address" to which SCHULTE responded by
providing an email address (the "Schulte Email Address").  I
know, based on my discussions with individuals who know SCHULTE
and are familiar with his use of electronic communications, that
the Schulte Email Address, which includes SCHULTE's name, is
used by SCHULTE.

               b.   On or about January 17, 2009, SCHULTE, using
username "Josh" communicated with username "Sturm." During that
conversation, SCHULTE and Sturm appeared to discuss where to
store child pornography on their computers to avoid detection.
Specifically, the following exchange occurred, in substance and
in part: 3

          SCHULTE:      You can use it [an encrypted location] to
                        store data as well, backup data or w/e
                        it's encrypted, raided, and you can be sure
                        of privacy.

          Sturm:        A great place for kiddy porn!

          [   .    .]
          SCHULTE:      lol .

          Sturm:        Or normal porn.       Or backups.

          SCHULTE:      I guess if that's what gets you off.

          Sturm:        Backups?        "This tarball sure is hot.   II




          SCHULTE:      lol.     I meant kiddy porn.

          Sturm:        oh.     yeah.



3 The portions of the Chats included in paragraph 5 were copied
verbatim and not corrected for typographical errors.

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          SCHULTE:   Just don't put something *too* illegal on
                     there.

          Sturm:     Like what?

          SCHULTE:   I'd be pretty pissed off if the FBI knocked
                     on my door and said I had terrorist plans to
                     nuke the US on my server.

          Sturm:     Oh, well.  It's all encrypted. So you could
                     tell the FBI to STFU [shut the fuck up]

          SCHULTE:   hahaaa.    Yes, well.     encryptions can be
                     broken.

               c.     On or about March 12, 2009, SCHULTE, using
username "Josh," communicated with username "Sturm" and username
"hpb." During that conversation, SCHULTE, Sturm, and hpb
appeared to discuss where to obtain child pornography.
Specifically, at one point, SCHULTE asked the other individuals
in the chat "[w]here does one get kiddie porn anyways?" SCHULTE
subsequently posted an Internet address that, based on my
training and experience, appeared to link to an image of child
pornography. The address posted by SCHULTE included "images,"
"kiddie," and "porn." After posting the link, the following
exchange occurred, in substance and in part:

          Sturm:     It's interesting. Lalz.        How is that even
                     remotely arousing.

          SCHULTE:   ughh idk

          Sturm:     I thought kiddie porn was of like 15 year
                     old girls.

          SCHULTE:   yeah

          Sturm:     But whatever floats your boat, I guess.

          SCHULTE:   I guess . . I mean, I guess they like it
                     because the girls are pure? I dunno about
                     why they'd like little boys?

          Sturm:     Well, 15 year old girls are sexy . . But
                     maybe that's because I'm 16.




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          SCHULTE:      hmm I dunno if it's the looks they're
                        attracted to or just the thought of them
                        since they're probably virgins

               d.   Later, on March 12, 2009, SCHULTE and Sturm
discussed downloading child pornography from the Internet using
a file sharing program called "Limewire" and viewing child
pornography involving a five year old boy. Specifically, the
following exchange occurred, in substance and in part:

          SCHULTE:      Apparently limewire runs rampant with child
                        porn . . They say "report it to the FBI", but
                        will illegally download music . . damn now
                        I'm interested.    . I might have to search
                        it :P Type in "porn" and see what shows up

          [   .    .]
          SCHULTE:      You think I should search it? :P

          Sturm:        Why not?

          SCHULTE:      How do people get little kids to do porn
                        anyway? Is it like 5 year olds?

          Sturm:        They kidnap them I guess. Apparently there
                        are like facebook and myspace child
                        prostitution rings.

          SCHULTE:      That one dude was into that like 5yr old boy
                        hah really?

          Sturm:        Yeah

          SCHULTE:      oh you saw "Taken" right? 4

          Sturm:        Yeah.   That was some sick stuff.

          SCHULTE:      Like their sex business they have.      That's
                        kinda cool.




4 I believe, based on my discussions with other law enforcement
officers, and my training and experience, that SCHULTE's
reference to "Taken" is to a movie in which teenage girls are
kidnapped by human traffickers to be sold for sex.


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               e.      On or about March 13, 2009, SCHULTE, using
username "Josh," communicated with an individual using username
"Sturm" and an individual using username "Niche." During that
conversation, SCHULTE appeared to give Sturm and Niche access to
his server to view potential child pornography and asked for
their opinion on whether some of the participants appeared to be
minors. Specifically, the following exchange occurred, in
substance and in part:

          SCHULTE:    It doesn't really look like kid porn to me.
                      but idk [I don't know]. you guys decide :P

          Sturm:      heh.     Lemme move to my workstation.

          Niche:      heh kk

          SCHULTE:    http://cryptm.org/-josh/porn/

          Sturm:      Wazzup ma homies

          Niche:      lol

          Sturm:      I probably want to scp 5 this.

          Niche:      you have a whole folder for it??

          Sturm:      Dude, scp it.     You don't want to end up in
                      jail.

          Niche:      lol

          SCHULTE:    I'll take it down in a bit.       Not like they
                      will even know.

          Sturm:      What's the path?

          SCHULTE:    I don't see how they could tell.

          Niche:      heh

          SCHULTE:    /home/josh/http/porn


5I believe, based on my discussions with other law enforcement
officers, and my training and experience, that "scp" refers to a
network protocol that supports secure file transfers to keep the
data confidential while in transit.


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          Sturm:        I dunno either, but I'm not taking the risk.
                          Which one should I watch first?

          Niche:        hahaha

          Sturm:        rename these things for god's sake.

          SCHULTE:      lol

          Niche:        like it was a restaurant or some shit

          SCHULTE:      alright.      hold up niche, I'm renaming

          Niche:        oh fuck.      . I'll have to reopen the link.

          SCHULTE:      ok now try

          Sturm:        Downloadin'    "not_kiddie_pornl.mpg".

          SCHULTE:      lol

          [   .    .]
          SCHULTE:      dude it looks just like regular porn.

          Sturm:        I don't even like porn.

          SCHULTE:      you cant even tell they're underage . . if
                        they even are.

               f.   On or about June 28, 2009, SCHULTE, using
username "Josh," communicated with username "Sturm" and others.
During that conversation, SCHULTE appeared to discuss sharing an
encrypted server with other individuals to distribute child
pornography. Specifically, the following exchange occurred, in
substance and in part:

          SCHULTE:      Bleh, yall fools can host ye shit on the
                        crypt.

                        http://cryptm.org/-hpb/
                        http://cryptm.org/-dave/
                        http://cryptm.org/-niall/

          [   .    .]




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          Niall:     So what's the story with cryptm then
                     Josh/Sturm?

          Sturm:     Josh started it so he could securely host
                     all his child/rape porn.

          SCHULTE:   I got tired of my old server sucking back in
                     Lubbock. Heh . . And, I hadn't built a
                     computer in like, almost 6 months . . So, I
                     build me a sweet server with 3TB, RAID, etc.

          Niall:     Nice.   Where is all the stuff up there then?

          Sturm:     http://cryptm.org/data

          6.   On or about March 13, 2017, pursuant to a search
warrant authorized by the Honorable Barbara C. Moses, Google,
Inc. produced information, including a history of JOSHUA ADAM
SCHULTE, the defendant's, Google searches (the "Google
Searches"). Based on my review of those Google Searches, I have
learned, among other things, that on a number of occasions in or
about 2011 and in or about 2012, SCHULTE appeared to search the
Internet for child pornography. For example: (i) on or about
April 9, 2011, SCHULTE conducted a Google Search for "child
pornography" on at least three occasions; (ii) on or about
October 15, 2011, SCHULTE conducted Google Searches for "movie
where father videos daughter and friend sex" and "movie where
father videos child porn"; and (iii) on or about May 15, 2012,
SCHULTE conducted a Google Search for "female teenage body by
year."

           7.   On or about June 26, 2017, JOSHUA ADAM SCHULTE,
the defendant, was interviewed in the presence of his attorneys
 (the "June 2017 Interview"). During the course of the June 2017
Interview:

               a.   SCHULTE identified a photograph of the
Desktop Computer as his primary computer. He stated that he was
the sole and exclusive user of the Desktop Computer and that he
did not give anyone else access to the Desktop Computer.

               b.    SCHULTE stated that he purchased the Desktop
Computer himself while he was living in Virginia, and
transported the Desktop Computer from Virginia to New York in or
about November 2016, when he moved.




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               c.   SCHULTE stated that he used the Desktop
Computer for various activities, including gaming and browsing
the Internet.

               d.   SCHULTE explained that he had personally
installed encryption on the Desktop Computer. He stated that he
did not share the password for the encrypted portions of the
Desktop Computer with anyone else.

               e.   SCHULTE was asked what he maintained inside
the encrypted portions of the Desktop Computer. He responded
that he used the encrypted portions of his Desktop Computer to
store pornography. He further claimed that he encrypted it
because he did not want his family to find it. When asked if he
would be willing to provide investigators with the password to
the encrypted portions of the Desktop Computer, he declined.

               f.   SCHULTE also acknowledged that he maintained
communications with others using the IRC Program, which he
hosted on his Desktop Computer.  SCHULTE stated that his own
screen name on the IRC Program was "Josh."

          8.   During the course of the June 2017 Interview,
SCHULTE also stated that he was interested in the return of the
computing devices seized during the course of the March 2017
search of his Residence.  Specifically, SCHULTE was principally
interested in the return of his cellular telephone - on which
the passwords to the encrypted portions of the Desktop Computer
were found pursuant to the Cellphone Examination - and the
return of his Desktop Computer - where the child pornography
images were located in an encrypted container.




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     WHEREFORE deponent prays that a warrant be issued for the
arrest of JOSHUA ADAM SCHULTE, the defendant, and that he be
arrested and imprisoned, or bailed, as the case may be.




                            Spe     Agent
                            Federal Bureau of Investigation



Sworn to before me this
23rd day of August, 2017



    7~.2-~~~
~HE HONORABL~HENRY PITMAN
lJNITED STATES MAGJ::STRATE JUDGE
SOUTHERN DISTRICT OF NEW YORK




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